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                                                                                                     United States Bankruptcy Court
                                                                                                          Southern District of Texas

                                                                                                             ENTERED
                                                                                                            March 17, 2022
                                                                                                          Nathan Ochsner, Clerk

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

    In re: ACCOUNT RESOLUTION                            §
    SERVICES
                                                         §
    Proceedings to Enforce                               §   Misc. Proceeding No. 22-00301
    Fed. R. Bankr. P. 9036                               §

ORDER REQUIRING ACCOUNT RESOLUTION SERVICES TO APPEAR THROUGH
                            COUNSEL
               AT A STATUS CONFERENCE ON 4/11/2022

        The Administrative Office of the United States Courts has advised the Court that
ACCOUNT RESOLUTION SERVICES has been designated as a high-volume paper-notice
recipient of bankruptcy notices under Federal Rule of Bankruptcy Procedure 9036. A high-volume
paper-notice recipient is currently defined as an entity that has been mailed 100 or more notices in
any calendar month by the Bankruptcy Noticing Center. Federal Rule of Bankruptcy Procedure
9036 mandates that high volume recipients (with limited exceptions) must receive electronic
notices.

        The Administrative Office of the United States Courts has advised the Court that
ACCOUNT RESOLUTION SERVICES has failed to register to receive electronic bankruptcy
notices.

        On 4/11/2022 at 9:00:00 AM at Courtroom 404, 515 Rusk, Houston, TX 77002, the Court
will conduct a status conference to determine what action should be taken to compel (if necessary)
ACCOUNT RESOLUTION SERVICES to comply with Federal Rule of Bankruptcy Procedure
9036. ACCOUNT RESOLUTION SERVICES is ordered to appear at the status conference
through counsel. Counsel should be prepared to advise the Court on the steps that ACCOUNT
RESOLUTION SERVICES is taking to assure comprehensive compliance with Federal Rule of
Bankruptcy Procedure 9036.1

       Parties and counsel may appear in person, or via videoconference and telephone. Audio
access will be at (832) 917-1510, conference room number 954554. Video access will be at
www.goto.com/meeting/join#, meeting room “judgeisgur”.




1
  In addition to any appropriate sanctions, failure to comply with this Order or register for electronic noticing will
result in the cessation of paper noticing from the U.S. Bankruptcy Courts and the creation of an electronic account
for you by the Bankruptcy Noticing Center, as set forth in Exhibit B.
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        In lieu of attendance at the scheduled status conference, ACCOUNT RESOLUTION
SERVICES may complete and file Exhibit A, confirming that it has completed its registration for
electronic noticing and will receive court notices at an email address chosen by the entity.2
Alternatively, ACCOUNT RESOLUTION SERVICES may complete and file Exhibit B,
confirming that it wishes to receive its court notices at an electronic account created for the entity
by the Bankruptcy Noticing Center. Any completed exhibit and accompanying materials must be
filed with the Court not less than 72 hours prior to the commencement of the scheduled status
conference.

        The Clerk will serve this on ACCOUNT RESOLUTION SERVICES by United States Mail
and file a Certificate of Service.


               SIGNED 03/17/2022



                                                                      ___________________________________
                                                                                    Marvin Isgur
                                                                           United States Bankruptcy Judge




2
 Registration for electronic bankruptcy noticing is at the following web site:
https://bankruptcynotices.uscourts.gov/register.
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                                            EXHIBIT A

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 In re: ACCOUNT RESOLUTION                     §
 SERVICES
                                               §
 Proceedings to Enforce                        §   Misc. Proceeding No. 22-00301
 Fed. R. Bankr. P. 9036                        §

                   STATEMENT CONFIRMING REGISTRATION FOR
                      ELECTRONIC BANKRUPTCY NOTICING

       This Statement is filed on behalf of ACCOUNT RESOLUTION SERVICES.

         The entity identified above received the Court’s Order requiring attendance at a status
conference to assure compliance with the electronic noticing requirements of Federal Rule of
Bankruptcy Procedure 9036. The Order authorizes the filing of this statement in lieu of attendance
at the status conference.

       The entity identified above registered for electronic bankruptcy noticing on ___________.
The entity has attached to this statement a copy of the confirmation email it received from the
Bankruptcy Noticing Center reflecting that it has completed its registration for electronic noticing.
By registering for electronic bankruptcy noticing, the entity has agreed to receive its bankruptcy
notices from the U.S. Bankruptcy Courts at the email address identified on the attached
confirmation email from the Bankruptcy Noticing Center.

        The individual signing this statement represents that the individual is an authorized agent
of the entity identified above.



                               Signature:     _____________________________________

                           Typed Name:        _____________________________________

                                   Date:      _____________________________________
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                                            EXHIBIT B

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 In re: ACCOUNT RESOLUTION                     §
 SERVICES
                                               §
 Proceedings to Enforce                        § Misc. Proceeding No. 22-00301
 Fed. R. Bankr. P. 9036                        §

  STATEMENT ACCEPTING ELECTRONIC COURT NOTICES AT AN ACCOUNT
          CREATED BY THE BANKRUPTCY NOTICING CENTER

       This Statement is filed on behalf of ACCOUNT RESOLUTION SERVICES.

         The entity identified above received the Court’s Order requiring attendance at a status
conference to assure compliance with the electronic noticing requirements of Federal Rule of
Bankruptcy Procedure 9036. The Order authorizes the filing of this statement in lieu of attendance
at the status conference.

         The entity identified above is aware that, beginning on May 23, 2022, it will no longer be
sent paper bankruptcy notices from the U.S. Bankruptcy Courts. The entity confirms that it wishes
to receive its bankruptcy notices from the U.S. Bankruptcy Courts at an electronic account created
for the entity by the Bankruptcy Noticing Center. The entity confirms that it will take the necessary
steps to access the electronic account in accordance with the instructions provided to the entity in
separate letters from the Bankruptcy Noticing Center.

        The individual signing this statement represents that the individual is an authorized agent
of the entity identified above.


                               Signature:     _____________________________________

                           Typed Name:        _____________________________________

                                   Date:      _____________________________________
